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                                                        UNITED STATES v. RYAN WESLEY ROUTH
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                                                               Date Produced: December 20, 2024
                                                                  Bates Range: Gov007628-9094
                                                                        Data Size: 260 GB
               FOLDER:                                                              FILE:                     BATES Nos.:
    >101 Jail Communications                  >2024-12-04 data released to trial team                        Gov007628-7663
                                              >>10-24-24 - 10-30-24_15 Calls:
                                                 - 35967511_Oct_24_2024_17_02_29_PM_3362738660.wav
                                              Gov007628
                                                 - 35967511_Oct_24_2024_20_24_06_PM_8082863048.wav
                                              Govv07629
                                                 - 35967511_Oct_25_2024_18_45_50_PM_8082863048.wav
                                              Gov007630
                                                 - 35967511_Oct_26_2024_08_49_12_AM_8082863048.wav
                                              Gov007631
                                                 - 35967511_Oct_26_2024_17_41_01_PM_3362738660.wav
                                              Gov007632
                                                 - 35967511_Oct_26_2024_21_02_36_PM_8082863048.wav
                                              Gov007633
                                                 - 35967511_Oct_27_2024_06_57_15_AM_8082863048.wav
                                              Gov007634
                                                 - 35967511_Oct_27_2024_18_39_44_PM_3362738660.wav
                                              Gov007635
                                                 - 35967511_Oct_27_2024_20_11_51_PM_8082863048.wav
                                              Gov007636
                                                 - 35967511_Oct_28_2024_13_24_26_PM_3362738660.wav
                                              Gov007637
                                                 - 35967511_Oct_28_2024_20_10_05_PM_8082863048.wav
                                              Gov007638
                                                 - 35967511_Oct_29_2024_13_38_37_PM_3362738660.wav
                                              Gov007639
                                                 - 35967511_Oct_29_2024_20_32_32_PM_8082863048.wav
                                              Gov007640
1
    “>” denotes a folder and “>>” denotes a subfolder.
                                                                       1
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                               Bates Range: Gov007628-9094
                                     Data Size: 260 GB
               - 35967511_Oct_30_2024_14_24_27_PM_3362738660.wav
            Gov007641
               - 35967511_Oct_30_2024_19_09_33_PM_8082863048.wav
            Gov007642
            >>10-30-24 - 11-12-24_21 Calls:
               - 35967511_Nov_01_2024_19_42_03_PM_8082863048.wav
            Gov007643
               - 35967511_Nov_02_2024_17_55_13_PM_3367089150.wav
            Gov007644
               - 35967511_Nov_02_2024_20_00_41_PM_8082863048.wav
            Gov007645
               - 35967511_Nov_03_2024_17_16_20_PM_3362738660.wav
            Gov007646
               - 35967511_Nov_03_2024_19_58_14_PM_8082863048.wav
            Gov007647
               - 35967511_Nov_05_2024_18_25_00_PM_8082863048.wav
            Gov007648
               - 35967511_Nov_06_2024_06_51_26_AM_8082863048.wav
            Gov007649
               - 35967511_Nov_06_2024_17_38_54_PM_3362738660.wav
            Gov007650
               - 35967511_Nov_06_2024_19_48_40_PM_8082863048.wav
            Gov007651
               - 35967511_Nov_07_2024_19_15_24_PM_8082863048.wav
            Gov007652
               - 35967511_Nov_08_2024_20_03_24_PM_8082863048.wav
            Gov007653
               - 35967511_Nov_09_2024_19_31_18_PM_8082863048.wav
            Gov007654
               - 35967511 Nov 10 2024 18 17 34 PM 8082863048.wav

                                         2
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                                                  Bates Range: Gov007628-9094
                                                        Data Size: 260 GB
                              Gov007655
                                 - 35967511_Nov_10_2024_19_49_44_PM_8082863048.wav
                              Gov007656
                                 - 35967511_Nov_11_2024_19_32_32_PM_8082863048.wav
                              Gov007657
                                 - 35967511_Nov_12_2024_17_57_18_PM_8082863048.wav
                              Gov007658
                                 - 35967511_Oct_30_2024_14_24_27_PM_3362738660.wav
                              Gov007659
                                 - 35967511_Oct_30_2024_19_09_33_PM_8082863048.wav
                              Gov007660
                                 - 35967511_Oct_31_2024_12_44_45_PM_3362738660.wav
                              Gov007661
                                 - 35967511_Oct_31_2024_14_16_58_PM_3362738660.wav
                              Gov007662
                                 - 35967511_Oct_31_2024_21_02_55_PM_8082863048.wav
                              Gov007663
>02 Law Enforcement Reports   >FBI Reports:                                                       Gov007664-8540
                                 - 1A JPG Files Combined (Gov007664-7694)
                                 - 1A PDF Files Combined Batch 1_Redacted (Gov007695-7839)
                                 - 1A PDF Files Combined Batch 2_Redacted (Gov007840-7977)
                                 - 1A PDF Files Combined Batch 3_Redacted (Gov007978-8094)
                                 - 1A PDF Files Combined Batch 4_Redacted (Gov008095-8209)
                                 - 1A PDF Files Combined Batch 5_Redacted (Gov008210-8309)
                                 - 1A PDF Files Combined Batch 6_Redacted (Gov008310-8397)
                                 - 1A Png Files Combined_Redacted (Gov008398-8404)
                                 - FBI 302s Combined_Redacted (Gov008405-8481)
                                 - Final Redacted FBI Reports Combined (Gov008482-8510)
                                 - NTOC Email_Redacted (Gov008511-8512)
                                 - Routh Guardian Redacted (Gov008513-8517)

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                                                Bates Range: Gov007628-9094
                                                       Data Size: 260 GB
                           >Video Footage Flanigan’s:
                           - Cam07_Store 11R_P_Store 11R_P_20240821135959_20240821143823_21250370.mp4
                           (Gov008769)
                           - Cam07_Store 11R_P_Store 11R_P_20240821144116_20240821144440_22351749.mp4
                           (Gov008770)
                           - Cam07_Store 11R_P_Store 11R_P_20240821144911_20240821155959_22416576.mp4
                           (Gov008771)
                           - Cam12_Store 11R_P_Store 11R_P_20240821135959_20240821143824_21250372.mp4
                           (Gov008772)
                           - Cam12_Store 11R_P_Store 11R_P_20240821144126_20240821144439_22374328.mp4
                           (Gov008773)
                           - Cam12_Store 11R_P_Store 11R_P_20240821144911_20240821150208_22445136.mp4
                           (Gov008774)
                           - Cam12_Store 11R_P_Store 11R_P_20240821150208_20240821160000_22706104.mp4
                           (Gov008775)
                           - Cam23_Store 11R_P_Store 11R_P_20240821140000_20240821143245_21250372.mp4
                           (Gov008776)
                           - Cam23_Store 11R_P_Store 11R_P_20240821143245_20240821143823_22286859.mp4
                           (Gov008777)
                           - Cam23_Store 11R_P_Store 11R_P_20240821144118_20240821144438_22388661.mp4
                           (Gov008778)
                           - Cam23_Store 11R_P_Store 11R_P_20240821144911_20240821155958_22453228.mp4
                           (Gov008779)
                           - Cam32_Store 11R_P_Store 11R_P_20240821140000_20240821143823_21250371.mp4
                           (Gov008780)
                           - Cam32_Store 11R_P_Store 11R_P_20240821144140_20240821144440_22267339.mp4
                           (Gov008781)
                           - Cam32_Store 11R_P_Store 11R_P_20240821144915_20240821155959_22318009.mp4
                           (Gov008782)
                           RPReplay_Final1726450642.mp4 (Gov008783)
                           Sept 15 2024 Transporting_Routh_from_holding_cell_to_interview_room.mp4
                           (Gov008784)
                           Sept 15 2024 Transporting_Routh_from_interview_room_to_holding_cell.mp4
                           (Gov008785)
>05 Warrants               >24-mj-546-JEP:                                                              Gov008786-8820
                                                             5
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                                                       Data Size: 260 GB
                             - 24mj546_1 Application for Warrant.pdf (Gov008786-8813)
                             - 24mj546_2 Warrant Issued.pdf (Gov008814-8820)
>Evidence Files:             Redacted_DS_             _TRAFFIC_POST_NO_VALUE.mp4                     Gov008821-9094
(Body Worn Camera & Other)   Redacted_FBI_Special Agent_           _interview_with_W_M.mp4
                             Redacted_TFO           -Interview_R_J_N_Jr_091524.mp4
                             Redacted_FBI_Interview with_J_G_N.mp4
                             Redacted_BWC-TFO_            y-Interview_S_C_W_091524.mp4
                             Redacted_Interview_of_Y_M_Axon_Body_3_Video_2024-10-31_1.mp4
                             84_-_WELFARE_CHECK_GRs_Truck_Stop.mp4
                             84_-_WELFARE_CHECK_GRs_Truck_Stop-2.mp4
                             24-099061_-_Photo_taken_of_suspect_vehicle_by_witness_-_IMG_2984.jpeg
                             24-099061_-_Photo_taken_of_suspect_vehicle_by_witness_-_IMG_2986.jpeg
                             24-099061_-_Photo_taken_of_suspect_vehicle_by_witness_IMG_2985.jpeg
                             76_-_ASST_TO_ANOTHER_DEPARTMENT.mp4
                             76_-_BWC_Code_run,_turned_off_at_CP.mp4
                             76_-_In_car_in_route_to_scene.mp4
                             Backup_-_No_Value.mp4
                             Dash_-_No_Value.mp4
                             NOTHING_OF_VALUE.mp4
                             NOTHING_OF_VALUE-2.mp4
                             NOTHING_OF_VALUE-3.mp4
                             Perimeter_Congress_and_Summit_.mp4
                             PERIMETER_SPOT_NORTH_SIDE_OF_GOLF_COURSE_BEHIND_HQ.mp4
                             PERIMETER_SPOT_NORTH_SIDE_OF_GOLF_COURSE_BEHIND_HQ-2.mp4
                             PERIMETER_SPOT_NORTH_SIDE_OF_GOLF_COURSE_BEHIND_HQ-3.mp4
                             _Front_Camera_Perimeter_No_Value_.mp4
                             1S2_Initial_Response_Front_Car_camera.mp4
                             1S2_Supervisor_On_scene_and_at_Unified_Command_Post.mp4
                             76_-_ASST_TO_ANOTHER_DEPARTMENT.mp4
                             Backup_-_In_Car_No_Value-2.mp4
                             Backup_BWC_No_Value.mp4
                             Initial_Response_and_Crime_Scene_Set_up_Mark_Off.mp4
                             INITIAL_RESPONSE_NO_VALUE.mp4
                             Perimeter_Congress_and_Summit_.mp4
                             Perimeter_Congress_and_Summit_-2.mp4
                             Perimeter_Congress_and_Summit_-3.mp4

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                                 Data Size: 260 GB
            Back_up_DS_Black_BWC-_Traffic_Post-_Davis_and_Summit-_No_Value.mp4
            BWC_Perimeter_Check_Response.mp4
            Driving_to_scene_no_value.mp4
            Driving_to_scene_no_value-2.mp4
            IN_CAR_DASH_CAMERA_NO_VALUE_.mp4
            Initial_response_.mp4
            Initial_response_-2.mp4
            No_value.mp4
            no_value-2.mp4
            Respond_to_Scene.mp4
            Sgt._Morgado_BWC_Initial_Scene_No_Value.mp4
            test.mp4
            Test-2.mp4
            Test-3.mp4
            76_-_ASST_TO_ANOTHER_DEPARTMENT.mp4
            Accidental_Activation_-_No_Value.mp4
            BWC_-_back_up_only_-_no_value.mp4
            Citizen_reports seeing_USSS_Agents.mp4
            D_S_D._              _BWC_.mp4
            Driving_to_scene.mp4
            Driving_to_traffic_position_no_value.mp4
            In_car_-_no_value.mp4
            No_value_BWC.mp4
            No_Value_Dash_cam.mp4
            perimeter_check_with_K9.mp4
            Perimeter_Congress_and_Summit_.mp4
            Perimeter_Congress_and_Summit_-2.mp4
            Photographs_of_Summit_Boulevard_Fence_Line_2024-09-15_13_58_48_001.jpg
            Photographs of_Summit_Boulevard_Fence_Line_2024-09-15_13_58_51_002.jpg
            Sgt._         _BWC_Initial_Scene_arrival.mp4
            trump_detail.mp4
            Witness_reports_seeing USSS_agents_in_the_area.mp4
            24099061_D_S_             -BWC-No_Value.mp4
            BWC_-_NO VALUE.mp4
            D_S_D._              _IN_CAR_FRONT_.mp4
            NO_EVIDENTIARY_VALUE-3.mp4
            NO VALUE BWC.mp4
                                                 8
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                                 Data Size: 260 GB
            Photographs_of_Summit_Boulevard_Fence_Line_2024-09-15_13_58_54_003.jpg
            Photographs_of_Summit_Boulevard_Fence_Line_2024-09-15_13_58_56_004.jpg
            Photographs_of_Summit_Boulevard_Fence_Line_2024-09-15_13_59_54_005.jpg
            Photographs_of_Summit_Boulevard_Fence_Line_2024-09-15_13_59_58_006.jpg
            Photographs_of_Summit_Boulevard_Fence_Line_2024-09-15_14_00_01_007.jpg
            Traffic_control_perimeter.mp4
            Traffic_post.mp4
            24-099061_-_BWC_Det._Gomez_at_scene.mp4
            24-099061_BWC_Det_Gomez_-_Initial_brief_of_witness_info.mp4
            76_-_ASST_TO_ANOTHER_DEPARTMENT.mp4
            76_-_ASST_TO_ANOTHER_DEPARTMENT_NO_EVID_VALUE.mp4
            76_-_ASST_TO_ANOTHER_DEPARTMENT-2.mp4
            ACCIDENTAL_ACTIVATION.mp4
            BWC_No_Value_(Arrival).mp4
            BWC_NO_VALUE_TRAFFIC_POST.mp4
            CP_&_Scene_Security_-_No_Value.mp4
            Crime_Scene_Setup.mp4
            Escaran_BWC-_no_value._perimeter_spot.mp4
            Escaran_Front_in_car-_no_value._perimeter_spot.mp4
            Felony_Stop_.mp4
            No_evidentiary_value.mp4
            76_-
            _ASST_TO_ANOTHER_DEPARTMENT_FRONT_CAM_ON_ARRIVAL_AT_COMMAND_P
            OST.mp4
            76_-_ASST_TO_ANOTHER_DEPARTMENT_NO_EVID_VALUE.mp4
            76_-_ASST_TO_ANOTHER_DEPARTMENT-4.mp4
            backup_perimeter_spot.mp4
            No_value_BWC.mp4
            Perimeter_Congress_and_Summit_.mp4
            Perimeter_deputy-no_evidence.mp4
            76_-_ASST_TO_ANOTHER_DEPARTMENT.mp4
            Accidental_activation_.mp4
            Back_Up_Unit,_Responding_to_the_Command_Post,_No_Value.mp4
            BU_responding_to_motorcade_escort_position-2.mp4
            BWC - Code to_scene_-_No_Value.mp4
            DS             _TRAFFIC_POST_NO_VALUE.mp4
            Perimeter Congress and Summit .mp4
                                           9
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                                 Data Size: 260 GB
             Front_in_car_camera_-_Code_to_scene_and_traffic_post.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-3.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-4.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-5.mp4
             76_-_BWC_BU.mp4
             76_-_FRONT_DASH_CAM_-_CODE_3_TO_CP_SITE.mp4
             76_-_NO_VALUE-2.mp4
             76_-_NO_VALUE-3.mp4
             76_-_REAR_SEAT_NV.mp4
             NO_EVIDENTIARY_VALUE-2.mp4
             Perimeter_deputy-no_evidence.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-2.mp4
             76_-_Traffic_Post,_No_evidence_value.mp4
             Contact_with_pedestrian_on_traffic_post.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-3.mp4
             ASST_TO_ANOTHER_DEPARTMENT-BWC-no_evidentiary_value.mp4
             NO_EVIDENTIARY_VALUE-2.mp4
             Perimeter_Congress_and_Summit_-2.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-2.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-3.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-5.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-6.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-7.mp4
             76_-_BWC_BU_ASSITING_WITH_MOTORCADE.mp4
             BWC, NO VALUE.mp4
             D_S_         _Backup_No_Value.mp4
             NO_VALUE;_76_-_ASST_TO_ANOTHER_DEPARTMENT.mp4
             NSV;_76_-_ASST_TO_ANOTHER_DEPARTMENT.mp4
             Perimeter_Congress_and_Summit_-2.mp4
             Speaking_with_motorists_seeking_access.mp4
             76_-_NO_VALUE.mp4
             BWC_Traffic_Post_-_No_Value.mp4
             FRONT_CAMERA,_NO_VALUE.mp4
             No_Value.mp4
             No_Value_.mp4
             Pedestrian seeking access.mp4
                                            10
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                                 Data Size: 260 GB
             PERIMETER_SPOT,_NO_VALUE.mp4
             76_-_NO_VALUE.mp4
             BWC_NO_VALUE_TRAFFIC_POST.mp4
             Eagle_Video_(Suspect_Take_Down).ts
             Media_asking_for_access.mp4
             Motorist_upset_he_can't_go_to_command_post.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-6.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT-7.mp4
             76_-_ASST_TO_ANOTHER_DEPARTMENT.mp4
             76_-_BWC_-_TRAFFIC_POST.mp4
             BWC-Sealing_suspect_vehicle_with_evidence_tape-I-95_marker_112-Sep_15_2024-
                        n_7732.mp4
             Dash_Camera_-_Prisoner_Transport_Martin_County_to_Palm_Beach_County_HQ.mp4
             FID_#_11716784_-_Routh_-_Taking_custody_of_suspect_for_transport_.mp4
             Initial_Contact_Prisoner_Transfer_from_MCSO_.mp4
             Prisoner_Transport_Martin_County_to_Palm_Beach_County_HQ.mp4
             Suspect-Chain_of_Custody_.mp4
             Photo-Secured_with_evidence_tape_suspect_vehicle_drivers_side-I-95_marker_112-
             Sep_15_2024-Det_Allison_7732.jpg
             Photo-Secured_with_evidence_tape_suspect_vehicle_front_drivers_side-I-95_marker_112-
             Sep_15_2024-Det_Allison_7732.jpg
             Photo-Secured_with_evidence_tape_suspect_vehicle_front-I-95_marker_112-Sep_15_2024-
             Det_Allison_7732.jpg
             Photo-Secured_with_evidence_tape_suspect_vehicle_passenger_side-I-95_marker_112-
             Sep_15_2024-Det_Allison_7732.jpg
             Photo-Secured_with_evidence_tape_suspect_vehicle_rear-I-95_marker_112-Sep_15_2024-
             Det         _7732.jpg
             Photo-Secured_with_evidence_tape_suspect_vehicle_rear-I-95_marker_112-Sep_15_2024-
             Det_        _7732-2.jpg
             Photo-Secured_with_evidence_tape_suspect_vehicle-I-95_marker_112-Sep_15_2024-
             Det         _7732.jpg
             Arrival_at_Palm_Beach_County_HQ_Body_Camera.mp4
             Axon_Interview_-_VCD_Interview_1_-_Camera_1_-_NO_VALUE.mp4
             Axon_Interview_-_VCD_Interview_1_-_Camera_2_-_NO_VALUE.mp4
             BWC_NO_VALUE_TRAFFIC_POST_(SPEAKING_WITH_MEDIA_TO_MOVE_THEM_ALO
             NG).mp4
             BWC of Photo of grass and stickers on suspect.mp4
                                                 11
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                                 Data Size: 260 GB
             Eagle_Video_3500_Summit_Boulevard.ts
             No_value,_taking_suspect_into_VCD_holding_cell.mp4
             Perimeter_Congress_and_Summit_.mp4
             Transport_of_suspect_to_VCD_holding_cells.mp4
             Eagle_Video_3505_Summit_Boulevard.ts
             Eagle_Video_Martin_County.ts
             Photo_of_grass_and_stickers_on_suspect_both_legs_and_shoes_.jpeg
             Photo_of_grass_and_stickers_on_suspect_Left_Leg_.jpeg
             Photo_of_grass_and_stickers_on_suspect_right_leg#2_.jpeg
             Photo_of_grass_and_stickers_on_suspect_right_leg_.jpeg
             Photo_of_grass_and_stickers_on_suspect_right_leg_close_up.jpeg
             Photo_of_suspect_front_.jpeg
             Photo_suspect_back_.jpeg
             24-099061_091524_JC7852.zip
             24-099061_UAV_(Drone_)_Video_.mkv
             Axon_Interview_-_VCD_Interview_1_-_Camera_1.mp4
             Axon_Interview_-_VCD_Interview_1_-_Camera_2.mp4
             K9_Usage_-_Assist_FBI_at_TIGC.mp4
             24-099061_-_FBI_Interview_-_Axon_Interview_-_VCD_Interview_2_-_Camera_1.mp4
             24-099061_-_FBI_Interview_-_Axon_Interview_-_VCD_Interview_2_-_Cemera_2.mp4
             24-099061_-_Suspect_Clothing_receipt.pdf
             BWC_Suspect_transport_from_VCD_to_Patrol_vehicle.mp4
             Transporting_Routh_from_holding_cell_to_D_S_for_transport_to_County_Jail.mp4
             Transporting_Routh_from_holding_cell_to_interview_room.mp4
             Transporting_Routh_from_interview_room_to_holding_cell.mp4
             Axon_Body_3_Video_2024-09-15_1409_X60A9591S.mp4
             Axon_Body_3_Video_2024-09-15_1410_X60AA679T.mp4
             Axon_Body_3_Video_2024-09-15_1413_X60AA298K.mp4
             Axon_Body_3_Video_2024-09-15_1600_X60A9591S.mp4
             Axon_Body_3_Video_2024-09-15_1608_X60A9591S.mp4
             Axon_Body_3_Video_2024-09-16_0915_X60A92661.mp4
             GUN_DOG_-_ASSIST_FBI_-_10-17.mp4
             GUN_DOG_-_ASSIST_FBI_-_10-17-2.mp4
             Special_Detail_No_Value_-9.mp4
             Special_Detail_No_Value_-10.mp4
             (Drone_Flight_1)_DRN_3_1300-1322_Export.zip
             (Drone Flight 1 Media File) DRN 3 1300-1322 Export.mkv
                                                 12
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                    UNITED STATES v. RYAN WESLEY ROUTH
                       CASE No. 24-80116-CR-Cannon/McCabe
            GOV’TS FIFTH RESPONSE TO STANDING DISCOVERY ORDER
                         Date Produced: December 20, 2024
                           Bates Range: Gov007628-9094
                                 Data Size: 260 GB
             (Drone_Flight_2)_DRN_3_1327-1343_Export.zip
             (Drone_Flight_2_Media_File)_DRN_3_1327-1343_Export.mkv
             (Drone_Flight_3)_DRN_3_1539-1631_Export.zip
             (Drone_Flight_3_Media_File)_DRN_3_1539-1631_Export.mkv
             GRs_Truck_Stop_9_17_Dash_Cam.mp4
             GRs_Truck_Stop_9_17_Scene.mp4
             GRs_Truck_Stop_9_17_Scene-2.mp4
             GRs_Truck_Stop_9_17_scene-3.mp4
             GRs_Truck_Stop_9_17_scene-4.mp4
             envelope.jpeg
             Letter_Received_in_mail.jpeg
             711_Video_Pull.zip
             BG_-_900_South_Main_St_-_PepV_-_Static_8-15_1201-_9-16_2359_(Skyview).zip
             BG_-_1075_S_Main_St_-_PepA_-_PTZ_1129-1129_(Skyview).zip
             BG_-_Main_Street_@_Ave_A_-_PepA_-_Static_-_Camera_2_1131-1131_(Skyview).zip
             RTCC3_-_Gun_Club_@_Military_(PTZ)_-_PepV_0153-0153_(Skyview).zip
             RTCC3_-_Gun_Club_@_Military_(Static)_-_PepV_0153-0153_(Skyview).zip
             SB_-_195_Hwy_27_@_SR_80_-_PepV_-_Static_1611-1618_(Skyview).zip
             SB_-_265_N_Hwy_27_-_Okeechobee_Inn_-_PepA_-_PTZ_1608-1610_(Skyview).zip
             WPB_-_Trump_International_Entrance_-_Static1_-_PepA_0157-0159_(Skyview).zip
             WPB_-_Trump_International_Entrance_-_Static2_-_PepA_0157-0159_(Skyview).zip
             WPB_-_Trump_International_WPB_-_PTZ_-_PepA_0157-0159_(Skyview).zip
             BG_-_1075_S_Main_St_-_PepA_-_Static_8-15_1201_-_9-16_2359_(Skyview).zip
             SB_-_195_Hwy_27_@_SR_80_-_PepV_-_Static_8-15_1201_-_9-16_2359_(Skyview).zip
             T_3RD_TCKT_12_UNITED_EV_PTZ-2024-09-07_10h31min27s000ms_1.asf
             VIDEO_FROM_PBIA_09072024_DISK_A.zip
             VIDEO_FROM_PBIA_09072024_DISK_B.zip
             24099061_CD1_AND_CD2.zip
             24099061_CD1_AND_CD2-2.zip
             IMG 0429.jpeg




                                                13
